                IN THE UNITED STATES DISTRICT COURT
               FOR THE WESTERN DISTRICT OF VIRGINIA
                       BIG STONE GAP DIVISION

UNITED STATES OF AMERICA                           )
                                                   )
                                                   )   Case No. 2:17CR00002
                                                   )
v.                                                 )          OPINION
                                                   )
VICTOR LEBRON,                                     )   By: James P. Jones
                                                   )   United States District Judge
                 Defendant.                        )

      Randy Ramseyer, Assistant United States Attorney, Abingdon, Virginia, for
United States; Victor Lebron, Defendant Pro Se.

      The defendant, Victor Lebron, proceeding pro se, has filed a motion seeking

relief under 28 U.S.C. § 2255. The United States has filed a motion to dismiss, to

which the movant has responded. For the reasons stated, I will grant the motion to

dismiss and dismiss the § 2255 motion.

      After pleading guilty to an Information, the defendant was sentenced by this

court on March 27, 2017, to a term of 36 months imprisonment. The Information

charged the defendant with possession of a prohibited object in prison, in violation

of 18 U.S.C. § 1791(a)(2),(b)(3), and (d)(1)(B).

      In his § 2255 motion, the defendant contends that an expunged incident

report from an administrative investigation amounts to new evidence. He further

asserts that his counsel was ineffective in failing to investigate and that had his




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counsel investigated and advised him differently, he would not have pleaded

guilty.

      To state a viable claim for relief under § 2255, a defendant must prove: (1)

that his sentence was “imposed in violation of the Constitution or laws of the

United States”; (2) that “the court was without jurisdiction to impose such

sentence”; or (3) that “the sentence was in excess of the maximum authorized by

law, or is otherwise subject to collateral attack.” 28 U.S.C. § 2255(a). The movant

bears the burden of proving grounds for a collateral attack by a preponderance of

the evidence. Miller v. United States, 261 F.2d 546, 547 (4th Cir. 1958).

      Criminal defendants have a Sixth Amendment right to effective legal

assistance. Strickland v. Washington, 466 U.S. 668, 687 (1984).          Ineffective

assistance claims, however, are not lightly granted — “[t]he benchmark for judging

any claim of ineffectiveness must be whether counsel’s conduct so undermined the

proper functioning of the adversarial process that the [proceeding] cannot be relied

on as having produced a just result.” Id. at 686. To that end, a defendant must

satisfy a two-prong analysis showing both that counsel’s performance fell below an

objective standard of reasonableness and that the defendant was prejudiced by

counsel’s alleged deficient performance. Id. at 687. To satisfy the prejudice prong

of Strickland, a defendant must show that there is a reasonable probability that, but




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for counsel’s unprofessional error, the outcome of the proceeding would have been

different. Id. at 694.

      Absent extraordinary circumstances, “allegations in a § 2255 motion that

directly contradict the petitioner’s sworn statements made during a properly

conducted Rule 11 colloquy are always palpably incredible and patently frivolous

or false.” United States v. Lemaster, 403 F.3d 216, 221 (4th Cir. 2005) (internal

quotation marks omitted). During his plea hearing, Lebron testified under oath that

he was satisfied with his attorney’s performance and that he was pleading guilty

because he was, in fact, guilty. He testified that he understood he was waiving his

right to collaterally attack his sentence except as to claims of ineffective assistance

of counsel. He did not contest the prosecutor’s recitation of the facts of his

offense, including that he had defecated rubber balloons containing strips that were

tested and shown to be Suboxone, a Schedule III controlled substance.

      Lebron knowingly and intelligently waived his right to collaterally attack his

sentence for reasons other than ineffective assistance of counsel, and this waiver

covers the first ground asserted in his § 2255 motion. Even if he had not waived

his right to collaterally attack his sentence, the expunged incident report would not

amount to newly discovered evidence sufficient to undermine his conviction.

Lebron has failed to show how the expunged report has any bearing on his guilt or

innocence. He alleges that the report referred to the contents of the balloons as an


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unknown substance rather than as Suboxone. Lebron argues that had counsel

investigated, counsel would have discovered this inconsistency, which could have

been used to impeach the person who wrote the report. According to Lebron, had

he been advised of this inconsistency, he would not have pled guilty.

      Lebron’s arguments contradict the sworn testimony he gave at his plea

hearing, wherein he admitted that the strips contained Suboxone. The incident

report to which Lebron refers actually states that the strips from the balloons were

sent to the Federal Bureau of Investigation for testing and that the strips tested

positive for buprenorphine, the drug contained in Suboxone strips. An earlier

report states that in-house testing conducted at the prison showed that the strips

were positive for opium alkaloids. These two statements are not inconsistent. The

later testing simply shows more specifically what substance the strips contained, a

fact that could not be precisely determined by the earlier test. Counsel’s alleged

failure to note this supposed inconsistency does not amount to an unprofessional

error under Strickland and did not prejudice Lebron.

      For these reasons, the United States’ Motion to Dismiss will be granted and

the § 2255 motion will be dismissed. A separate final order will be entered

herewith.

                                              DATED: February 21, 2019

                                              /s/ James P. Jones
                                              United States District Judge
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